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 Attorneys for Plaintiff
 KARS 4 KIDS INC.

                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                                :
 KARS 4 KIDS INC.,                              :     Civil Action No. 14-7770 (PGS/LHG)
                                                :
              Plaintiff,                        :      ORDER GRANTING MOTION
                                                :   IN LIMINE NO. 1 TO EXCLUDE THE
 v.                                             :    ENTIRETY OF BRYCE R. COOK’S
                                                :              OPINIONS
 AMERICA CAN!,                                  :
                                                :              Electronically Filed
              Defendant.                        :
                                                :


           THIS MATTER having been brought before the Court by Plaintiff Kars 4 Kids, Inc.’s

 (“Kars 4 Kids”) motion in limine to exclude the entirety of Bryce R. Cook’s opinions; and the

 Court having considered the written submissions of the parties and the arguments of counsel, if

 any, and good and other cause having been shown;

           IT IS ON THIS _____ day of ________________, 2019

           ORDERED that Kars 4 Kids’ motion in limine No. 1 is hereby GRANTED; and it is

 further
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         ORDERED that the entirety of Bryce R. Cook’s opinions are hereby EXCLUDED; and

 it is further

         ORDERED that America Can! is not permitted to offer any evidence, testimony, or

 arguments regarding Bryce R. Cook’s reports and/or testimony at trial.




                                                    Hon. Peter G. Sheridan, U.S.D.J.
